                                                                                Case 3:17-cv-06011-WHA Document 259 Filed 05/25/18 Page 1 of 2



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                                                                          5                           IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9   CITY OF OAKLAND, a Municipal                               No. C 17-06011 WHA
                                                                         10   Corporation, and THE PEOPLE OF THE
                                                                              STATE OF CALIFORNIA, acting by and                                 and
                                                                         11   through Oakland City Attorney BARBARA J.
United States District Court




                                                                              PARKER,                                                    No. C 17-06012 WHA
                               For the Northern District of California




                                                                         12                 Plaintiffs,
                                                                         13     v.                                                       ORDER FOLLOWING HEARING
                                                                         14                                                              ON MOTIONS TO DISMISS
                                                                              BP P.L.C., a public limited company of
                                                                         15   England and Wales, CHEVRON
                                                                              CORPORATION, a Delaware corporation,
                                                                         16   CONOCOPHILLIPS COMPANY, a
                                                                              Delaware corporation, EXXON MOBIL
                                                                         17   CORPORATION, a New Jersey corporation,
                                                                              ROYAL DUTCH SHELL PLC, a public
                                                                         18   limited company of England and Wales, and
                                                                              DOES 1 through 10,
                                                                         19                 Defendants.
                                                                         20                                                 /

                                                                         21   AND RELATED CASE.
                                                                                                                            /
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                                                                         23          For the reasons stated on the record at yesterday’s hearing, plaintiffs’ request to take

                                                                         24   jurisdictional discovery as to defendant Exxon Mobil Corporation is DENIED. Plaintiffs’

                                                                         25   request to take jurisdictional discovery as to defendants BP p.l.c., ConocoPhillips Company,

                                                                         26   and Royal Dutch Shell plc is GRANTED. Plaintiffs may also take discovery concerning the

                                                                         27   nature of the relationship between Shell Oil Company and Royal Dutch Shell for purposes of

                                                                         28   determining whether Shell Oil Company is Royal Dutch Shell’s “general manager.”
                                                                                Case 3:17-cv-06011-WHA Document 259 Filed 05/25/18 Page 2 of 2



                                                                          1           By AUGUST 9 AT NOON, plaintiffs shall file supplemental briefs in opposition to BP,
                                                                          2   ConocoPhillips, and Royal Dutch Shell’s motions to dismiss pursuant to FRCP 12(b)(2) and
                                                                          3   12(b)(5). BP, ConocoPhillips, and Royal Dutch Shell may file any replies by AUGUST 16 AT
                                                                          4   NOON. These supplemental submissions shall not exceed 15 pages.
                                                                          5           In addition, counsel for Royal Dutch Shell stated at yesterday’s hearing that plaintiffs
                                                                          6   had not requested a waiver of service of summons pursuant to FRCP 4(d). By MAY 28 AT
                                                                          7   NOON, Royal Dutch Shell shall submit a statement clarifying whether it is now willing to accept
                                                                          8   service if plaintiffs request that it do so.
                                                                          9           Finally, by MAY 31 AT NOON, the parties shall submit 10-page supplemental briefs on
                                                                         10   the extent to which adjudication of plaintiffs’ federal common law nuisance claims would
                                                                         11   require the undersigned judge to consider the utility of defendants’ alleged conduct. There will
United States District Court
                               For the Northern District of California




                                                                         12   be no replies.
                                                                         13
                                                                         14           IT IS SO ORDERED.
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                                                                         16   Dated: May 25, 2018.
                                                                                                                                    WILLIAM ALSUP
                                                                         17                                                         UNITED STATES DISTRICT JUDGE
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